UMMM CLUE Com? UCLA oli mer: coo

 

Debtor 1 James N Earehart

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Indiana

Case number 22-80386-JJG-13

(If known)

 

 

Official Form 122C—1

 

feito @-cmel ire mm ae a

 

According to the calculations required by
this Statement:

LJ 1. Disposable income is not determined
under 11 U.S.C. § 1325(b)(3).

2. Disposable income is determined
under 11 U.S.C. § 1325(b)(3).

 

LJ 3. The commitment period is 3 years.
4. The commitment period is 5 years.

 

[1 check if this is an amended filing

Chapter 13 Statement of Your Current Monthly Income

and Calculation of Commitment Period

10/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the

top of any additional pages, write your name and case number (if known).

i Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
Not married. Fill out Column A, lines 2-11.

LJ Married. Fill out both Columns A and B, lines 2-11.

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income

from that property in one column only. If you have nothing to report for any line, write $0 in the space.

 

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
payroll deductions). , 8,047.11 g —~.00
3. Alimony and maintenance payments. Do not include payments from a spouse. $__0.00 $__0.00
4. All amounts from any source which are regularly paid for household expenses of
you or your dependents, including child support. Include regular contributions from
an unmarried partner, members of your household, your dependents, parents, and
roommates. Do not include payments from a spouse. Do not include payments you
listed on line 3. $ 0.00 $ 0.00
5. netincome from operating a business, profession, or Debtor 4 Debtor 2
Gross receipts (before all deductions) $__0.00 § 0.00
Ordinary and necessary operating expenses —¢$ 0.00-¢ 0.00
Net monthly income from a business, profession, or farm $ 0.00 ¢ 0.00 rOPy $ 0.00 $ 0.00
6. Net income from rental and other real property Debtor 1 Debtor 2
Gross receipts (before all deductions) g 0.00 ¢ 0.00
Ordinary and necessary operating expenses —$ 0.00-¢ 0.00
Net monthly income from rental or other real property $ 0.00 ¢ 0.00 uo, $ 0.00 $ 0.00

Official Form 122C-—1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 1
Debtor 1 James N Earehart

First Name Middle Name Last Name

7. Interest, dividends, and royalties
8. Unemployment compensation

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it Mere: teeta

For you $ 0.00
For your spouse $ 0.00

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If you received any retired pay paid
under chapter 61 of title 10, then include that pay only to the extent that it does not
exceed the amount of retired pay to which you would otherwise be entitled if retired
under any provision of title 10 other than chapter 61 of that title.

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability,
or death of a member of the uniformed services. If necessary, list other sources on a
separate page and put the total below.

 

 

Total amounts from separate pages, if any.

11. Calculate your total average monthly income. Add lines 2 through 10 for each
column. Then add the total for Column A to the total for Column B.

Cir Determine How to Measure Your Deductions from Income

Case number (if known) 22-80386-JJG-13

 

 

 

 

 

 

 

12. Copy your total average monthly income from line 11.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
$ 0.00 $ 0.00
$ 201.07 $ 0.00
$ 0.00 $ 0.00
$ 0.00 $ 0.00
$0.00 $ 0.00
+$ 0.00 +$ 0.00
g 8,248.17 +) ¢ 0.00 =|¢ 8,248.17
Total average
monthly income
$ 8,248.17

 

13. Calculate the marital adjustment. Check one:
You are not married. Fill in 0 below.

LJ You are married and your spouse is filing with you. Fill in 0 below.
CJ You are married and your spouse is not filing with you.

Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
you or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than

you or your dependents.

Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,

list additional adjustments on a separate page.

If this adjustment does not apply, enter 0 below.

 

 

 

 

$
$
+$
Total $ 0.0 Copy here >
14. Your current monthly income. Subtract the total in line 13 from line 12.
Official Form 122C—1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period

— 0.00

¢__ 8,248.17

page 2
Debtor 1 James N Earehart Case number (tknown_22-B0386-JUG-13

 

First Name Middle Name Last Name

15. Calculate your current monthly income for the year. Follow these steps:

 

 

15a. Copy line 14 here > $8,248.17
Multiply line 15a by 12 (the number of months in a year). x 12
15b. The result is your current monthly income for the year for this part of the form. ¢ 98,978.04

 

16. Calculate the median family income that applies to you. Follow these steps:

16a. Fill in the state in which you live. IN

16b. Fill in the number of people in your household. 1

16c. Fill in the median family income for your state and size of household. $ 54,785.00

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

17a. LI Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Ca/culation of Your Disposable Income (Official Form 122C-2).

17b. Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C—2).
On line 39 of that form, copy your current monthly income from line 14 above.

ra Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 

18. Copy your total average monthly income from line 11. $ 8,248.17

19.

20.

21.

Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy

the amount from line 13.

19a. If the marital adjustment does not apply, fill in 0 on line 194. oo. ee ernest edneasoeseaedneaseeeteedneasenseennneae

 

 

 

—$ 0.00
19b. Subtract line 19a from line 18. $ 8,248.17
Calculate your current monthly income for the year. Follow these steps:
20a. line 19b..
a. Copy line $ 8,248.17
Multiply by 12 (the number of months in a year). x 12

20b. The result is your current monthly income for the year for this part of the form. ¢ 98,978.04
20c. Copy the median family income for your state and size of household from line 16c.

¢ 54,785.00

 

 

 

How do the lines compare?

LJ Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
The commitment period is 3 years. Go to Part 4.

Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
check box 4, The commitment period is 5 years. Go to Part 4.

Official Form 122C—1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3
Case 22-80386-JJG-13  Doc7 Filed 10/17/22 EOD 10/17/22 14:54:04 Pg 4of12
Debtor 1 James N Earehart Case number (iknown_22-80386-JJG-13

First Name Middle Name Last Name

Sign Below

By signing here, under penalty of perjury | declare that the information on this statement and in any attachments is true and correct.

 

 

X /s/ James N Earehart x
Signature of Debtor 1 Signature of Debtor 2
Date 10/17/2022 Date
MM/DD /YYYY MM/ DD /YYYY

If you checked 17a, do NOT fill out or file Form 122C-2.
If you checked 17b, fill out Form 122C—2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

Official Form 122C—1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 4
LMA Lem eMC (CLA ole mer: OTe es

 

 

Debtor 1 James N Earehart

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing} First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Southern District of Indiana

Case number 22-80386-JJG-13

(If known)

(1 Check if this is an amended filing

 

Official Form 122C—2

 

Chapter 13 Calculation of Your Disposable Income 4122

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly income and Calculation of
Commitment Period (Official Form 122C—1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).

a Calculate Your Deductions from Your Income

The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
this form. This information may also be available at the bankruptcy clerk’s office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some
of your actual expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from
income in lines 5 and 6 of Form 122C—1, and do not deduct any amounts that you subtracted from your spouse's income in line 13
of Form 122C-1.

If your expenses differ from month to month, enter the average expense.

Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

The number of people used in determining your deductions from income

Fill in the number of people who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you support. This number may be different 0
from the number of people in your household.

National Standards You must use the IRS National Standards to answer the questions in lines 6-7.

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National

7.

Standards, fill in the dollar amount for food, clothing, and other items. $

Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories—people who are
under 65 and people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your
actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

Official Form 122C—2 Chapter 13 Calculation of Your Disposable Income page 1
Debtor 1 James N Earehart Case number (if known) 22-80386-JJG-1 3

First Name Middle Name Last Name

 

People who are under 65 years of age

75.
7a. Out-of-pocket health care allowance per person $ 5.00

7b. Number of people who are under 65 X
ioly Ii j 0.00 Copyline 4 0.00
7c. Subtotal. Multiply line 7a by line 7b. $ 7c here> $.
People who are 65 years of age or older
7d. Out-of-pocket health care allowance per person $ 153.00
7e. Number of people who are 65 or older xX
Copy line
7f. Subtotal. Multiply line 7d by line 7e. $ 0.00 7theres> + 0.00
Copy total
7g. Total. Add lines 76 Amd Tf. cesccccssssccsececsssssssssssssssvecsssscsssssessesesstsssssssssseeeseseuttssssesseees ¢ 0.00 he e mq. 0:00

po Y he IRS Local Standard h ions in lines 8-15
Standards ‘ou must use the ocal Standards to answer the questions in lines 8-15.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for bankruptcy purposes
into two parts:

@ Housing and utilities — Insurance and operating expenses

™ Housing and utilities — Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link
specified in the separate instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

8. Housing and utilities — Insurance and operating expenses: Using the number of people you entered in line 5, fill in 0.00
the dollar amount listed for your county for insurance and operating expenses. go

9. Housing and utilities — Mortgage or rent expenses:

9a. Using the number of people you entered in line 5, fill in the dollar amount 0.00
listed for your county for mortgage or rent expenses. $

9b. Total average monthly payment for all mortgages and other debts secured by
your home.

To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file for
bankruptcy. Next divide by 60.

Name of the creditor Average monthly
payment

 

$ 0.00 Copy line 0.00 Repeat this amount
—_—_—___— 9b here> Wn line 33a.

9b.Total average monthly payment..................

9c. Net mortgage or rent expense.

Subtract line 9b (total average monthly payment) from line 9a (mortgage or rent ¢ 0.00 Copy 9c here=> ¢0.00
expense). If this number is less than $0, enter $0. ——

10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects $ 1,000.00
the calculation of your monthly expenses, fill in any additional amount you claim. ———__

Explain why: TRAVEL EXPENSES FOR LIVING ON THE ROAD THROUGH THE US NEARLY 350
RENDERS TS GUIDELINES INNVALID

 

Official Form 122C—2 Chapter 13 Calculation of Your Disposable Income page 2
Debtor 1 James N Earehart Case number (if known) 22-80386-JJG-1 3

First Name Middle Name Last Name

11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

UL) 0. Goto line 14.
1. Go to line 12.
CI 2ormore. Go to line 12.

12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the operating
expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. ¢ 240.00

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each
vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you
may not claim the expense for more than two vehicles.

Vehicle 1 _ Describe 2015 chevrolet Silverago
Vehicle 1:

 

13a. Ownership or leasing costs using IRS Local Standard 1a ¢ 588.00
13b. Average monthly payment for all debts secured by Vehicle 1.
Do not include costs for leased vehicles.

To calculate the average monthly payment here and on line 13e,
add all amounts that are contractually due to each secured
creditor in the 60 months after you file for bankruptcy. Then divide

 

 

 

 

 

 

 

 

 

 

 

 

 

 

by 60.
Name of each creditor for Vehicle 1 Average monthly
payment
First Financial Bank N $ 453.00
+ $0.00
Copy Repeat this amount
Total average monthly payment $ 453.00 heres? 9 453.00 online 33b.
13c. Net Vehicle 1 ownership or lease expense Copy net Vehicle
Subtract line 13b from line 13a. If this number is less than $0, enter $0. ............. $135.00 41 expense here™> $135.00
Vehicle 2 Describe
Vehicle 2:
13d. Ownership or leasing costs using IRS Local Standard..............:: cesses $ 0.00
13e. Average monthly payment for all debts secured by Vehicle 2.
Do not include costs for leased vehicles.
Name of each creditor for Vehicle 2 Average monthly
payment
g 0.00
+ $0.00
Copy Ri hi
Total average monthly payment ¢ 0.00 here> 7S 0.00 Repeat ae amount
13f. Net Vehicle 2 ownership or lease expense 2 eenonse here a>
Subtract line 13e from 13d. If this number is less than $0, enter $0. ...............-. $0.00 _ P $0.00 _
14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the Public $0.00

Transportation expense allowance regardless of whether you use public transportation.

15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim $35.00
more than the IRS Local Standard for Public Transportation. —~_———

Official Form 122C—2 Chapter 13 Calculation of Your Disposable Income page 3
Debtor 1 James N Earehart Case number (if known) 22-80386-JJG-13

 

 

First Name Middle Name Last Name
Other Necessary In addition to the expense deductions listed above, you are allowed your monthly expenses for the
Expenses following IRS categories.

16.

17.

18.

19.

20.

21.

22.

23.

Taxes: The total monthly amount that you actually pay for federal, state and local taxes, such as income taxes, self-
employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
and subtract that number from the total monthly amount that is withheld to pay for taxes.

Do not include real estate, sales, or use taxes.

Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
union dues, and uniform costs.

Do not include amounts that are not required by your job, such as voluntary 401 (k) contributions or payroll savings.

Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
together, include payments that you make for your spouse’s term life insurance.

Do not include premiums for life insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life
insurance other than term.

Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments.

Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

Education: The total monthly amount that you pay for education that is either required:
@ as a condition for your job, or
@ for your physically or mentally challenged dependent child if no public education is available for similar services.

Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
Do not include payments for any elementary or secondary school education.

Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that is
required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a health
savings account. Include only the amount that is more than the total entered in line 7.

Payments for health insurance or health savinas accounts should be listed onlv in line 25.

Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it
is not reimbursed by your employer.

Do not include payments for basic home telephone, internet or cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Form 22C-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances.
Add lines 6 through 23.
Additional Expense These are additional deductions allowed by the Means Test.
Deductions Note: Do not include any expense allowances listed in lines 6-24.
25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health

26.

27.

insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
dependents.

Health insurance ¢0.00
Disability insurance ¢ 0.00
Health savings account + $0.00
Total $0.00 Copy total here ........ ee cceccccsccesecsescesseseeseessseeseeseesesesneseeees

Do you actually spend this total amount?

UL No. How much do you actually spend?

Yes

Continuing contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
household or member of your immediate family who is unable to pay for such expenses. These expenses may include
contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
By law, the court must keep the nature of these expenses confidential.

Official Form 122C—2 Chapter 13 Calculation of Your Disposable Income

$2,418.87

$0.00

$0.00

$0.00

$0.00

$0.00

$45.00

+ $0.00

$3,873.87 _

¢.0.00

$0.00

page 4
Debtor 1 James N Earehart Case number (if known) 22-80386-JJG-13

28.

29.

30.

31.

32.

 

 

First Name Middle Name Last Name

Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities allowance
on line 8.

If you believe that you have home energy costs that are more than the home energy costs included in the non-mortgage
housing and utilities allowance, then fill in the excess amount of home energy costs.

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
claimed is reasonable and necessary.

Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189.58"
per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
elementary or secondary school.

You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.

Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
food and clothing allowances in the IRS National Standards.

To find a chart showing the maximum additional allowance, go online using the link specified in the separate

instructions for this form. This chart may also be available at the bankruptcy clerk’s office.

You must show that the additional amount claimed is reasonable and necessary.

Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
instruments to a religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).
Do not include any amount more than 15% of your gross monthly income.

Add all of the additional expense deductions.
Add lines 25 through 31.

Deductions for Debt Payment

33.

For debits that are secured by an interest in property that you own, including home mortgages,
vehicle loans, and other secured debt, fill in lines 33a through 33g.

To calculate the total average monthly payment, add all amounts that are contractually due to each
secured creditor in the 60 months after you file for bankruptcy. Then divide by 60.

Average monthly

 

 

 

payment
Mortgages on your home
33a. Copy line 9b Mere... ceccsscsssssesessessessescesssnssecseesssseseeseessssesessesseseeseesesneseeneesenes > $ 0.00
Loans on your first two vehicles
B3b. Copy line 13D Mere. oo... ceccsscsssssscsssessessescesssnssecseesssseseeseesesuesceseeseseeseeesneseeseesense > $ 453.00
B3c. Copy line 13@ Here... ceccscsssssescssessessescesssnssecseesssseseeseesssses cases ceseeseecesseseeseesense > $0.00
33d. List other secured debts:
Name of each creditor for other Identify property that secures Does payment
secured debt the debt include taxes
or insurance?
[lnc = 50.00
Yes
ElNo —_ 50.00
Yes
EIno ¢ 0.00
Yes
Ci total
33e. Total average monthly payment. Add lines 33a through 33d. .........sssssesseesseesserseeees $453.00 he a
Official Form 122C—2 Chapter 13 Calculation of Your Disposable Income

$0.00

$0.00 _

$160.00

+ 25.00

 

$185.00

 

 

 

$453.00

page 5
Debtor 1 James N Earehart Case number (if known) 22-80386-JJG-13

First Name Middle Name Last Name

 

 

34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle, or other property necessary for
your support or the support of your dependents?

No. Go to line 35.

LI Yes. State any amount that you must pay to a creditor, in addition to the payments listed in line 33, to keep possession of
your property (called the cure amount). Next, divide by 60 and fill in the information below.

 

 

 

 

 

 

 

Name of the creditor Identify property that Total cure Monthly cure amount
secures the debt amount
$ +60= §
$ +60= §
$ +60=+$
Copy
Total $9-00  ———total_—-g 0.00
here>
35. Do you owe any priority claims—such as a priority tax, child support, or alimony— that are past due as of the
filing date of your bankruptcy case? 11 U.S.C. § 507.
QU) No. Go to line 36.
Yes. Fill in the total amount of all of these priority claims. Do not include current or ongoing
priority claims, such as those you listed in line 19.
Total amount of all past-due priority ClaiMS. ........c.scsssssssssccssssesceessssseecsesssnseeesessees ¢ 12,000.00 + 60 ¢200.0C
36. Projected monthly Chapter 13 plan payment ¢.090.00
Current multiplier for your district as stated on the list issued by the Administrative Office
of the United States Courts (for districts in Alabama and North Carolina) or by the
Executive Office for United States Trustees (for all other districts). 8.2%
To find a list of district multipliers that includes your district, go online using the link specified —_
in the separate instructions for this form. This list may also be available at the bankruptcy
clerk’s office.
Copy
$45.10 total $45.10
Average monthly administrative expense here>
37. Add all of the deductions for debt payment. Add lines 33g through 36. $698.10
Total Deductions from Income
38. Add all of the allowed deductions.
Copy line 24, All of the expenses allowed under IRS expense allowanceS............cc $ 3,873.87
Copy line 32, All of the additional expense CECUCTIONS............ccce ecient ¢ 185.00
Copy line 37, All of the deductions for debt PAYMONE............cceccececcceeeeeceeeteetaeteteeeeeeeeees +$ 698.10
Copy
Total deductions $4,756.97 total =|$ 4,756.97
here

 

Official Form 122C—2 Chapter 13 Calculation of Your Disposable Income page 6
Debtor 1 James N Earehart Case number (if known) 22-80386-JJG-13

First Name Middle Name Last Name

 

 

eRe Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

 

39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
Statement of Your Current Monthly Income and Calculation of Commitment Period. .......................0:.1-:c0-ces eee cess teenies $ 8,248.1 7

40. Fill in any reasonably necessary income you receive for support for dependent children.
The monthly average of any child support payments, foster care payments, or disability
payments for a dependent child, reported in Part | of Form 122C-1, that you received in $ 0.00
accordance with applicable nonbankruptcy law to the extent reasonably necessary to be
expended for such child.

41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
employer withheld from wages as contributions for qualified retirement plans, as specified ¢ 0.00
in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
specified in 11 U.S.C. § 362(b)(19).

42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here ......... > 394,756.97

43. Deduction for special circumstances. If special circumstances justify additional
expenses and you have no reasonable alternative, describe the special circumstances and
their expenses. You must give your case trustee a detailed explanation of the special
circumstances and documentation for the expenses.

 

 

 

 

 

Describe the special circumstances Amount of expense
$
$
+$
Copy here
44, Total adjustments. Add lines 40 through 43. ...ccscscsssssecccssesssssersssecsessessssseseeeseresseeeeeeesessees > $4,756.97 > — $4,756.97
45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39. $3,491.20

 

 

 

Sa Change in Income or Expenses

46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
have changed or are virtually certain to change after the date you filed your bankruptcy petition and during
the time your case will be open, fill in the information below. For example, if the wages reported increased
after you filed your petition, check 22C-1 in the first column, enter line 2 in the second column, explain why
the wages increased, fill in when the increase occurred, and fill in the amount of the increase.

Form Line Reason for change Date of change Increase or Amount of change
decrease?

CL] 22C—1 [increase $
L] 22C—2 [Decrease

22C—1 Increase
$
CL] 22C—2 [Decrease

CL] 22C—1 [increase $
CL] 22C—2 [Decrease

22C—1 Increase
$
L_] 22C—2 [Decrease

 

 

 

 

 

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Debtor 1 James N Earehart Case number (known _22-80386-JJG-13

First Name Middle Name Last Name

By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.

 

 

 

 

X /s/ James N Earehart x
Signature of Debtor 1 Signature of Debtor 2
Date 10/17/2022 Date
MM/ DD /YYYY MM/ DD /YYYY

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